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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                                CASE NO. 4:14CR00008 BSM

BARBARA MCCORMICK                                                          DEFENDANT


                                        ORDER

      The United States of America moves to dismiss [Doc. No. 320] the indictment [Doc.

No. 3] as to defendant Barbara McCormick without prejudice. Pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure, that motion is granted and the case is dismissed as to

McCormick without prejudice.

       IT SO ORDERED this 12th day of November 2014.


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                                                   UNITED STATES DISTRICT JUDGE
